                                                     Case 13-12415                       Doc 1           Filed 02/12/13                       Page 1 of 48
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                              District of Maryland                                                                                 Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Nebblett, Milton E. Jr.                                                                                      Nebblett, Shaunielle A.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-4066                                                                                                  xxx-xx-6386
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  301 Apple Grove Road                                                                                        301 Apple Grove Road
  Silver Spring, MD                                                                                           Silver Spring, MD
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         20904                                                                                         20904
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Montgomery                                                                                                   Montgomery
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                        Case 13-12415                 Doc 1       Filed 02/12/13                Page 2 of 48
B1 (Official Form 1)(12/11)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Nebblett, Milton E. Jr.
(This page must be completed and filed in every case)                                  Nebblett, Shaunielle A.
                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                          Case Number:                         Date Filed:
Where Filed: US Bankruptcy Court District of Maryland              12-19012                              5/11/12
Location                                                                             Case Number:                                   Date Filed:
Where Filed: US Bankruptcy Court District of Maryland                                12-11898                                        2/03/12
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Douglas N. Gottron MD No.                     February 12, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Douglas N. Gottron MD No. 06881

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                         Case 13-12415                   Doc 1          Filed 02/12/13             Page 3 of 48
B1 (Official Form 1)(12/11)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Nebblett, Milton E. Jr.
(This page must be completed and filed in every case)                                       Nebblett, Shaunielle A.
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Milton E. Nebblett, Jr.                                                          X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Milton E. Nebblett, Jr.

 X    /s/ Shaunielle A. Nebblett                                                               Printed Name of Foreign Representative
     Signature of Joint Debtor Shaunielle A. Nebblett
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     February 12, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Douglas N. Gottron MD No.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Douglas N. Gottron MD No. 06881                                                          debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Morris Palerm, LLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      416 Hungerford Drive
      Suite 315                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Rockville, MD 20850                                                                      an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                       Email: dgottron@morrispalerm.com
      (301) 424-6290 Fax: (301) 424-6294
     Telephone Number
     February 12, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                      Case 13-12415                    Doc 1   Filed 02/12/13   Page 4 of 48



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Milton E. Nebblett, Jr.
 In re     Shaunielle A. Nebblett                                                                   Case No.
                                                                                Debtor(s)           Chapter    7




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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                                          Case 13-12415                Doc 1     Filed 02/12/13         Page 5 of 48



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                              Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:           /s/ Milton E. Nebblett, Jr.
                                                                                 Milton E. Nebblett, Jr.
                                                  Date:          February 12, 2013




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                                      Case 13-12415                    Doc 1   Filed 02/12/13   Page 6 of 48



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Milton E. Nebblett, Jr.
 In re     Shaunielle A. Nebblett                                                                   Case No.
                                                                                Debtor(s)           Chapter    7




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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                                          Case 13-12415                Doc 1     Filed 02/12/13        Page 7 of 48



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                             Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Shaunielle A. Nebblett
                                                                                Shaunielle A. Nebblett
                                                  Date:          February 12, 2013




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                                            Case 13-12415                Doc 1     Filed 02/12/13          Page 8 of 48
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                         District of Maryland
 In re          Milton E. Nebblett, Jr.,                                                                      Case No.
                Shaunielle A. Nebblett
                                                                                                     ,
                                                                                    Debtors                   Chapter                    7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                   LIABILITIES              OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes              1                  197,500.00


B - Personal Property                                     Yes              6                    96,061.00


C - Property Claimed as Exempt                            Yes              4


D - Creditors Holding Secured Claims                      Yes              1                                            298,985.92


E - Creditors Holding Unsecured                           Yes              2                                              9,000.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes              4                                        1,398,750.31
    Nonpriority Claims

G - Executory Contracts and                               Yes              1
   Unexpired Leases

H - Codebtors                                             Yes              1


I - Current Income of Individual                          Yes              1                                                                      11,786.26
    Debtor(s)

J - Current Expenditures of Individual                    Yes              2                                                                      11,651.83
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                 23


                                                                    Total Assets              293,561.00


                                                                                      Total Liabilities             1,706,736.23




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                                           Case 13-12415                    Doc 1      Filed 02/12/13            Page 9 of 48
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                         District of Maryland
 In re           Milton E. Nebblett, Jr.,                                                                             Case No.
                 Shaunielle A. Nebblett
                                                                                                           ,
                                                                                        Debtors                       Chapter              7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                    Amount

             Domestic Support Obligations (from Schedule E)                                                        0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                               9,000.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

             Student Loan Obligations (from Schedule F)                                                            0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                   0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                   0.00

                                                                             TOTAL                             9,000.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                     11,786.26

             Average Expenses (from Schedule J, Line 18)                                                   11,651.83

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                      14,079.81


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                   73,485.92

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                   0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                     9,000.00

             4. Total from Schedule F                                                                                            1,398,750.31

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        1,481,236.23




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                                         Case 13-12415                   Doc 1    Filed 02/12/13       Page 10 of 48
B6A (Official Form 6A) (12/07)


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 In re         Milton E. Nebblett, Jr.,                                                                        Case No.
               Shaunielle A. Nebblett
                                                                                                   ,
                                                                                     Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                   Husband,    Current Value of
                                                                           Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
               Description and Location of Property                        Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                  Community Deducting  any Secured
                                                                                                              Claim or Exemption

6800 96th Avenue                                                                                       J                  197,500.00               266,985.92
Lanham, MD 20706




                                                                                                   Sub-Total >            197,500.00       (Total of this page)

                                                                                                           Total >        197,500.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                   (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
                                         Case 13-12415                   Doc 1    Filed 02/12/13          Page 11 of 48
B6B (Official Form 6B) (12/07)


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 In re         Milton E. Nebblett, Jr.,                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Bank Account                                                       J                        1,047.00
      accounts, certificates of deposit, or               Bank of America
      shares in banks, savings and loan,                  11499 Columbia Pike
      thrift, building and loan, and                      Silver Spring, MD 20904
      homestead associations, or credit                   Acct. No. *****2782
      unions, brokerage houses, or
      cooperatives.                                       Check Account                                                      J                        3,880.00
                                                          Capitol One
                                                          13301 New Hampshire Avenue
                                                          Silver Spring, MD 20904
                                                          Acct No. ******8318

                                                          Savings Account                                                    J                           225.00
                                                          Capitol One
                                                          13301 New Hampshire Avenue
                                                          Silver Spring, MD 20904
                                                          Acct No. ******3247

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Water bed                                                          J                           100.00
      including audio, video, and                         All household goods and furnishings (unless
      computer equipment.                                 otherwise noted) located at:
                                                          301 Apple Grove Road, Silver Spring, MD 20904

                                                          2 night stands in master room                                      J                            75.00

                                                          Desk                                                               J                            75.00

                                                          Couch in master bedroom                                            J                           100.00

                                                          Carpet in master bedroom                                           J                            25.00

                                                          Lamps in master bedroom                                            J                            30.00

                                                          DVD Player and 32" TV in master bedroom                            J                           150.00


                                                                                                                             Sub-Total >            5,707.00
                                                                                                                 (Total of this page)

  5    continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 13-12415                   Doc 1    Filed 02/12/13          Page 12 of 48
B6B (Official Form 6B) (12/07) - Cont.




 In re         Milton E. Nebblett, Jr.,                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption
                                                          Mirror in master bedroom                                           J                            40.00

                                                          Dresser                                                            J                           120.00

                                                          Art in master bedroom                                              J                            40.00

                                                          Curtains, rods and stool in master bedroom                         J                            25.00

                                                          Portable DVD                                                       J                            25.00

                                                          Picture frames and vases in master bedroom                         J                            35.00

                                                          Watches, rings and costume jewelry                                 J                           100.00

                                                          Ipod and ipod player                                               J                            75.00

                                                          TV - 13"                                                           J                           100.00

                                                          Washer and dryer                                                   J                           250.00

                                                          Twin bed and dresser                                               J                           150.00

                                                          Desk                                                               J                            35.00

                                                          Queen bed and dresser                                              J                           175.00

                                                          Couch and ottoman                                                  J                           130.00

                                                          China cabinet and china                                            J                           200.00

                                                          Dining table and chairs                                            J                           250.00

                                                          Area rug                                                           J                            65.00

                                                          Chairs                                                             J                           150.00

                                                          Rugs                                                               J                            65.00

                                                          Refrigerator                                                       J                           150.00

                                                          Mirror                                                             J                            50.00

                                                          Microwave and coffee maker                                         J                           100.00

                                                          Couch                                                              J                           100.00

                                                          Stereo                                                             J                            75.00



                                                                                                                             Sub-Total >            2,505.00
                                                                                                                 (Total of this page)

Sheet 1 of 5          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 13-12415                   Doc 1    Filed 02/12/13          Page 13 of 48
B6B (Official Form 6B) (12/07) - Cont.




 In re         Milton E. Nebblett, Jr.,                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption
                                                          Queen bed                                                          J                           100.00

                                                          2 game systems                                                     J                           100.00

                                                          Lawnmower                                                          J                           300.00

                                                          3 Dehumidifiers                                                    J                           150.00

                                                          Couch                                                              J                           200.00

                                                          Coffee table                                                       J                            75.00

                                                          5 Bookcases                                                        J                           200.00

                                                          4 Stuffed chairs                                                   J                           200.00

                                                          Lamps                                                              J                            60.00

                                                          Basketball arcade                                                  J                            34.00

                                                          Sewing machine                                                     J                           200.00

5.    Books, pictures and other art                       Objects of art and books                                           J                           160.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and                     Small art objects                                                  J                           300.00
      other collections or collectibles.

6.    Wearing apparel.                                    Assorted wearing apparel and shoes                                 J                           550.00

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,                  5 Bikes                                                            J                           250.00
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)


                                                                                                                             Sub-Total >            2,879.00
                                                                                                                 (Total of this page)

Sheet 2 of 5          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 13-12415                   Doc 1    Filed 02/12/13          Page 14 of 48
B6B (Official Form 6B) (12/07) - Cont.




 In re         Milton E. Nebblett, Jr.,                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

12. Interests in IRA, ERISA, Keogh, or                    Fidelity 401K Plan                                                 W                      49,000.00
    other pension or profit sharing
    plans. Give particulars.                              7Delta 401k Plan                                                   W                        3,000.00

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.


                                                                                                                             Sub-Total >          52,000.00
                                                                                                                 (Total of this page)

Sheet 3 of 5          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 13-12415                   Doc 1    Filed 02/12/13          Page 15 of 48
B6B (Official Form 6B) (12/07) - Cont.




 In re         Milton E. Nebblett, Jr.,                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2001 Volvo S80                                                     J                        1,800.00
    other vehicles and accessories.
                                                          1990 Honda Accord LX                                               J                           200.00

                                                          2001 Pontiac Grand Am                                              J                        1,500.00

                                                          Hand Trailer                                                       J                           500.00

                                                          2013 Honda Odyssey                                                 J                      28,000.00

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    Desktop Computer                                                   J                           150.00
    supplies.
                                                          Printer                                                            J                            50.00

                                                          Office chair                                                       J                            50.00

                                                          Miscellaneous office equipment                                     J                           250.00

                                                          Office shredder                                                    J                            70.00

                                                          Receipts reader                                                    J                           100.00

                                                          Massage table                                                      J                           150.00

                                                          3 Folding tables                                                   J                           150.00

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.


                                                                                                                             Sub-Total >          32,970.00
                                                                                                                 (Total of this page)

Sheet 4 of 5          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 13-12415                   Doc 1    Filed 02/12/13          Page 16 of 48
B6B (Official Form 6B) (12/07) - Cont.




 In re         Milton E. Nebblett, Jr.,                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                             Sub-Total >                  0.00
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                                                                                                                                  Total >         96,061.00
Sheet 5 of 5          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                          Case 13-12415                    Doc 1     Filed 02/12/13           Page 17 of 48
 B6C (Official Form 6C) (4/10)


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  In re         Milton E. Nebblett, Jr.,                                                                              Case No.
                Shaunielle A. Nebblett
                                                                                                          ,
                                                                                       Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank Account                                      Md. Code Ann., Cts. & Jud. Proc. §                                                1,047.00                         1,047.00
Bank of America                                   11-504(b)(5)
11499 Columbia Pike
Silver Spring, MD 20904
Acct. No. *****2782

Check Account                                                             Md. Code Ann., Cts. & Jud. Proc. §                        3,880.00                         3,880.00
Capitol One                                                               11-504(b)(5)
13301 New Hampshire Avenue
Silver Spring, MD 20904
Acct No. ******8318

Savings Account                                                           Md. Code Ann., Cts. & Jud. Proc. §                          225.00                           225.00
Capitol One                                                               11-504(b)(5)
13301 New Hampshire Avenue
Silver Spring, MD 20904
Acct No. ******3247

Household Goods and Furnishings
Water bed                                                                 Md. Code Ann., Cts. & Jud. Proc. §                          100.00                           100.00
All household goods and furnishings (unless                               11-504(f)(1)(i)(1)
otherwise noted) located at:
301 Apple Grove Road, Silver Spring, MD 20904

2 night stands in master room                                             Md. Code Ann., Cts. & Jud. Proc. §                            75.00                            75.00
                                                                          11-504(f)(1)(i)(1)

Desk                                                                      Md. Code Ann., Cts. & Jud. Proc. §                            75.00                            75.00
                                                                          11-504(f)(1)(i)(1)

Couch in master bedroom                                                   Md. Code Ann., Cts. & Jud. Proc. §                          100.00                           100.00
                                                                          11-504(f)(1)(i)(1)

Carpet in master bedroom                                                  Md. Code Ann., Cts. & Jud. Proc. §                            25.00                            25.00
                                                                          11-504(f)(1)(i)(1)

Lamps in master bedroom                                                   Md. Code Ann., Cts. & Jud. Proc. §                            30.00                            30.00
                                                                          11-504(f)(1)(i)(1)

DVD Player and 32" TV in master bedroom                                   Md. Code Ann., Cts. & Jud. Proc. §                          150.00                           150.00
                                                                          11-504(f)(1)(i)(1)

Mirror in master bedroom                                                  Md. Code Ann., Cts. & Jud. Proc. §                            40.00                            40.00
                                                                          11-504(f)(1)(i)(1)

Dresser                                                                   Md. Code Ann., Cts. & Jud. Proc. §                          120.00                           120.00
                                                                          11-504(f)(1)(i)(1)

Art in master bedroom                                                     Md. Code Ann., Cts. & Jud. Proc. §                            40.00                            40.00
                                                                          11-504(f)(1)(i)(1)


    3     continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                                      Best Case Bankruptcy
                                          Case 13-12415                    Doc 1     Filed 02/12/13        Page 18 of 48
 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Milton E. Nebblett, Jr.,                                                                       Case No.
                Shaunielle A. Nebblett
                                                                                                       ,
                                                                                        Debtors
                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                               (Continuation Sheet)

                                                                               Specify Law Providing               Value of          Current Value of
                  Description of Property                                         Each Exemption                   Claimed           Property Without
                                                                                                                  Exemption        Deducting Exemption

Curtains, rods and stool in master bedroom                                Md. Code Ann., Cts. & Jud. Proc. §               25.00                   25.00
                                                                          11-504(f)(1)(i)(1)

Portable DVD                                                              Md. Code Ann., Cts. & Jud. Proc. §               25.00                   25.00
                                                                          11-504(f)(1)(i)(1)

Picture frames and vases in master bedroom                                Md. Code Ann., Cts. & Jud. Proc. §               35.00                   35.00
                                                                          11-504(f)(1)(i)(1)

Watches, rings and costume jewelry                                        Md. Code Ann., Cts. & Jud. Proc. §              100.00                  100.00
                                                                          11-504(f)(1)(i)(1)

Ipod and ipod player                                                      Md. Code Ann., Cts. & Jud. Proc. §               75.00                   75.00
                                                                          11-504(f)(1)(i)(1)

TV - 13"                                                                  Md. Code Ann., Cts. & Jud. Proc. §              100.00                  100.00
                                                                          11-504(f)(1)(i)(1)

Washer and dryer                                                          Md. Code Ann., Cts. & Jud. Proc. §              250.00                  250.00
                                                                          11-504(f)(1)(i)(1)

Twin bed and dresser                                                      Md. Code Ann., Cts. & Jud. Proc. §              150.00                  150.00
                                                                          11-504(f)(1)(i)(1)

Desk                                                                      Md. Code Ann., Cts. & Jud. Proc. §               35.00                   35.00
                                                                          11-504(f)(1)(i)(1)

Queen bed and dresser                                                     Md. Code Ann., Cts. & Jud. Proc. §              175.00                  175.00
                                                                          11-504(f)(1)(i)(1)

Couch and ottoman                                                         Md. Code Ann., Cts. & Jud. Proc. §              130.00                  130.00
                                                                          11-504(f)(1)(i)(1)

China cabinet and china                                                   Md. Code Ann., Cts. & Jud. Proc. §              200.00                  200.00
                                                                          11-504(f)(1)(i)(1)

Dining table and chairs                                                   Md. Code Ann., Cts. & Jud. Proc. §              250.00                  250.00
                                                                          11-504(f)(1)(i)(1)

Area rug                                                                  Md. Code Ann., Cts. & Jud. Proc. §               65.00                   65.00
                                                                          11-504(f)(1)(i)(1)

Chairs                                                                    Md. Code Ann., Cts. & Jud. Proc. §              150.00                  150.00
                                                                          11-504(f)(1)(i)(1)

Rugs                                                                      Md. Code Ann., Cts. & Jud. Proc. §               65.00                   65.00
                                                                          11-504(f)(1)(i)(1)

Refrigerator                                                              Md. Code Ann., Cts. & Jud. Proc. §              150.00                  150.00
                                                                          11-504(f)(1)(i)(1)

Mirror                                                                    Md. Code Ann., Cts. & Jud. Proc. §               50.00                   50.00
                                                                          11-504(f)(1)(i)(1)




 Sheet     1    of     3    continuation sheets attached to the Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
                                          Case 13-12415                    Doc 1     Filed 02/12/13        Page 19 of 48
 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Milton E. Nebblett, Jr.,                                                                       Case No.
                Shaunielle A. Nebblett
                                                                                                       ,
                                                                                        Debtors
                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                               (Continuation Sheet)

                                                                               Specify Law Providing               Value of          Current Value of
                  Description of Property                                         Each Exemption                   Claimed           Property Without
                                                                                                                  Exemption        Deducting Exemption

Microwave and coffee maker                                                Md. Code Ann., Cts. & Jud. Proc. §              100.00                  100.00
                                                                          11-504(f)(1)(i)(1)

Couch                                                                     Md. Code Ann., Cts. & Jud. Proc. §              100.00                  100.00
                                                                          11-504(f)(1)(i)(1)

Stereo                                                                    Md. Code Ann., Cts. & Jud. Proc. §               75.00                   75.00
                                                                          11-504(f)(1)(i)(1)

Queen bed                                                                 Md. Code Ann., Cts. & Jud. Proc. §              100.00                  100.00
                                                                          11-504(f)(1)(i)(1)

2 game systems                                                            Md. Code Ann., Cts. & Jud. Proc. §              100.00                  100.00
                                                                          11-504(f)(1)(i)(1)

Lawnmower                                                                 Md. Code Ann., Cts. & Jud. Proc. §              300.00                  300.00
                                                                          11-504(f)(1)(i)(1)

3 Dehumidifiers                                                           Md. Code Ann., Cts. & Jud. Proc. §              150.00                  150.00
                                                                          11-504(f)(1)(i)(1)

Couch                                                                     Md. Code Ann., Cts. & Jud. Proc. §              200.00                  200.00
                                                                          11-504(f)(1)(i)(1)

Coffee table                                                              Md. Code Ann., Cts. & Jud. Proc. §               75.00                   75.00
                                                                          11-504(f)(1)(i)(1)

5 Bookcases                                                               Md. Code Ann., Cts. & Jud. Proc. §              200.00                  200.00
                                                                          11-504(f)(1)(i)(1)

4 Stuffed chairs                                                          Md. Code Ann., Cts. & Jud. Proc. §              200.00                  200.00
                                                                          11-504(f)(1)(i)(1)

Lamps                                                                     Md. Code Ann., Cts. & Jud. Proc. §               60.00                   60.00
                                                                          11-504(f)(1)(i)(1)

Basketball arcade                                                         Md. Code Ann., Cts. & Jud. Proc. §               34.00                   34.00
                                                                          11-504(f)(1)(i)(1)

Sewing machine                                                            Md. Code Ann., Cts. & Jud. Proc. §              200.00                  200.00
                                                                          11-504(f)(1)(i)(1)

Books, Pictures and Other Art Objects; Collectibles
Objects of art and books                            Md. Code Ann., Cts. & Jud. Proc. §                                    160.00                  160.00
                                                    11-504(f)(1)(i)(1)

Small art objects                                                         Md. Code Ann., Cts. & Jud. Proc. §              300.00                  300.00
                                                                          11-504(f)(1)(i)(1)

Wearing Apparel
Assorted wearing apparel and shoes                                        Md. Code Ann., Cts. & Jud. Proc. §              550.00                  550.00
                                                                          11-504(f)(1)(i)(1)




 Sheet     2    of     3    continuation sheets attached to the Schedule of Property Claimed as Exempt
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                                          Case 13-12415                    Doc 1     Filed 02/12/13        Page 20 of 48
 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Milton E. Nebblett, Jr.,                                                                       Case No.
                Shaunielle A. Nebblett
                                                                                                       ,
                                                                                        Debtors
                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                               (Continuation Sheet)

                                                                               Specify Law Providing               Value of            Current Value of
                  Description of Property                                         Each Exemption                   Claimed             Property Without
                                                                                                                  Exemption          Deducting Exemption

Firearms and Sports, Photographic and Other Hobby Equipment
5 Bikes                                         Md. Code Ann., Cts. & Jud. Proc. §                                         250.00                   250.00
                                                11-504(f)(1)(i)(1)

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Fidelity 401K Plan                                  Md. Code Ann., Cts. & Jud. Proc. §                                49,000.00                 49,000.00
                                                    11-504(h)

7Delta 401k Plan                                                          Md. Code Ann., Cts. & Jud. Proc. §              3,000.00               3,000.00
                                                                          11-504(h)

Automobiles, Trucks, Trailers, and Other Vehicles
2001 Volvo S80                                                            Md. Code Ann., Cts. & Jud. Proc. §              1,800.00               1,800.00
                                                                          11-504(f)(1)(i)(1)

2001 Pontiac Grand Am                                                     Md. Code Ann., Cts. & Jud. Proc. §              1,500.00               1,500.00
                                                                          11-504(b)(5)

Hand Trailer                                                              Md. Code Ann., Cts. & Jud. Proc. §               500.00                   500.00
                                                                          11-504(b)(5)

Office Equipment, Furnishings and Supplies
Desktop Computer                                                          Md. Code Ann., Cts. & Jud. Proc. §               150.00                   150.00
                                                                          11-504(b)(1)

Printer                                                                   Md. Code Ann., Cts. & Jud. Proc. §                50.00                    50.00
                                                                          11-504(b)(1)

Office chair                                                              Md. Code Ann., Cts. & Jud. Proc. §                50.00                    50.00
                                                                          11-504(b)(1)

Miscellaneous office equipment                                            Md. Code Ann., Cts. & Jud. Proc. §               250.00                   250.00
                                                                          11-504(b)(1)

Office shredder                                                           Md. Code Ann., Cts. & Jud. Proc. §                70.00                    70.00
                                                                          11-504(b)(1)

Receipts reader                                                           Md. Code Ann., Cts. & Jud. Proc. §               100.00                   100.00
                                                                          11-504(b)(1)

Massage table                                                             Md. Code Ann., Cts. & Jud. Proc. §                  0.00                  150.00
                                                                          11-504(f)(1)(i)(1)
                                                                          Md. Code Ann., Cts. & Jud. Proc. §               150.00
                                                                          11-504(f)(1)(i)(1)

3 Folding tables                                                          Md. Code Ann., Cts. & Jud. Proc. §               150.00                   150.00
                                                                          11-504(b)(1)




                                                                                                  Total:              67,861.00                 67,861.00
 Sheet     3    of     3    continuation sheets attached to the Schedule of Property Claimed as Exempt
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                                          Case 13-12415                   Doc 1          Filed 02/12/13            Page 21 of 48
 B6D (Official Form 6D) (12/07)


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  In re         Milton E. Nebblett, Jr.,                                                                                   Case No.
                Shaunielle A. Nebblett
                                                                                                              ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W             NATURE OF LIEN, AND                          I    Q   U                            PORTION, IF
                                                        T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                            SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxx3295                                            1/14/2013                                                   E
                                                                                                                            D

Capitol One Auto Finance                                        Purchase Money Security
3905 N. Dallas Pkwy
Plano, TX 75093                                                 2013 Honda Odyssey
                                                            J

                                                                Value $                                28,000.00                          32,000.00                  4,000.00
Account No. xxxxxx5342                                          2/25/2008

Fulton Bank                                                     First Mortgage
Mortgage Servicing Center
1 Penn Square                                                 6800 96th Avenue
                                                            J Lanham, MD 20706
Lancaster, PA 17602

                                                                Value $                            197,500.00                           266,985.92                 69,485.92
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                      298,985.92                 73,485.92
                                                                                                           (Total of this page)
                                                                                                                     Total              298,985.92                 73,485.92
                                                                                           (Report on Summary of Schedules)

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                                           Case 13-12415                    Doc 1          Filed 02/12/13                 Page 22 of 48
B6E (Official Form 6E) (4/10)


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 In re         Milton E. Nebblett, Jr.,                                                                                           Case No.
               Shaunielle A. Nebblett
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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                                          Case 13-12415                   Doc 1          Filed 02/12/13         Page 23 of 48
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Milton E. Nebblett, Jr.,                                                                                 Case No.
                Shaunielle A. Nebblett
                                                                                                            ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                               AMOUNT
                                                        O                                                            G    I   E                            ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                              PRIORITY
                                                                                                                     T    T
Account No.                                                     Outstanding tax liability                                 E
                                                                                                                          D

Comptroller of Maryland
11510 Georgia Avenue, Suite 190                                                                                                                      1,000.00
Silver Spring, MD 20902
                                                            J

                                                                                                                                         1,000.00                    0.00
Account No.                                                     Outstanding tax liability

Internal Revenue Service
8401 Corporate Drive                                                                                                                                 8,000.00
Hyattsville, MD 20785
                                                            J

                                                                                                                                         8,000.00                    0.00
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           9,000.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)            9,000.00                    0.00
                                                                                                                     Total                           9,000.00
                                                                                           (Report on Summary of Schedules)              9,000.00                    0.00

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                                          Case 13-12415                   Doc 1           Filed 02/12/13           Page 24 of 48
 B6F (Official Form 6F) (12/07)


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  In re         Milton E. Nebblett, Jr.,                                                                                 Case No.
                Shaunielle A. Nebblett
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                   2/12/2007                                                     T   T
                                                                                                                                                E
                                                                              Credit card purchases                                             D

Bank of America
P.O. Box 15025                                                            J
Wilmington, DE 19886

                                                                                                                                                                       1,951.00
Account No.                                                                   Credit card purchases

Bank of America
P.O. Box 15025                                                            J
Wilmington, DE 19886

                                                                                                                                                                         842.00
Account No.                                                                   Judgment - Howard Co. Cir. Ct.

Christopher Seymour
6321 Golden Harvest Court                                                 J
Clarksville, MD 21029

                                                                                                                                                                     56,000.00
Account No. xxxxx6386                                                         Personal loan

Fidelity Investments
900 Salem Street                                                          J
Smithfield, RI 02917

                                                                                                                                                                       6,740.00

                                                                                                                                        Subtotal
 3
_____ continuation sheets attached                                                                                                                                   65,533.00
                                                                                                                              (Total of this page)




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                                          Case 13-12415                   Doc 1           Filed 02/12/13           Page 25 of 48
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Milton E. Nebblett, Jr.,                                                                               Case No.
                Shaunielle A. Nebblett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxx6386                                                         Personal loan                                               E
                                                                                                                                          D

Fidelity Investments
900 Salem Street                                                          J
Smithfield, RI 02917

                                                                                                                                                            34,330.00
Account No.                                                                   Mortgage loan for property located at:
                                                                              301 Apple Grove Road
Fulton Financial Mortgage Servicing                                           Silver Spring, MD 20904
1 Penn Square                                                             J
Lancaster, PA 17602

                                                                                                                                                        1,200,000.00
Account No.                                                                   Personal loan

Irving Westney
14025 Clarksville Pike                                                    J
Highland, MD 20777

                                                                                                                                                            10,000.00
Account No.                                                                   Personal loan

Ivy Nebblett
12118 Mt. Albert Road                                                     J
Ellicott City, MD 21042

                                                                                                                                                              5,000.00
Account No. **********5404                                                    Opened 3/1/07 Last Active 5/18/12
                                                                              Credit Card
NASA Federal Credit Union
500 Prince Georges Ctr                                                    J
Upper Marlboro, MD 20772

                                                                                                                                                                701.00

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Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                        1,250,031.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                                          Case 13-12415                   Doc 1           Filed 02/12/13           Page 26 of 48
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Milton E. Nebblett, Jr.,                                                                               Case No.
                Shaunielle A. Nebblett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No.                                                                   Outstanding legal fees                                      E
                                                                                                                                          D

Paul Rivera
PO Box 349                                                                J
Rockville, MD 20848

                                                                                                                                                              5,000.00
Account No. xxxxxx6714                                                        Utility bill

Pepco
701 Ninth Street, NW                                                      J
Washington, DC 20068

                                                                                                                                                              1,441.00
Account No. xxxxxx1055                                                        Utility bill

Pepco
701 Ninth Street, NW                                                      J
Washington, DC 20068

                                                                                                                                                                168.00
Account No.                                                                   Personal loan

Valerie Morrison
47 Labrador Street                                                        J
Oshawa, Ontario, Canada L1H-7E2

                                                                                                                                                            75,000.00
Account No. xxxxxxxxxxxxxx3703                                                Utility bill

Verizon
PO Box 4003                                                               J
Acworth, GA 30101

                                                                                                                                                                331.31

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            81,940.31
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                                          Case 13-12415                   Doc 1           Filed 02/12/13            Page 27 of 48
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Milton E. Nebblett, Jr.,                                                                                 Case No.
                Shaunielle A. Nebblett
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxxxxx-x0001                                                   Utility bill                                                   E
                                                                                                                                             D

Verizon Wireless
P.O. Box 4003                                                             J
Acworth, GA 30101

                                                                                                                                                                   701.00
Account No. xxxxxx0316                                                        Utility bill

Washington Gas
101 Constitution Avenue, NW                                               J
Washington, DC 20080

                                                                                                                                                                   431.00
Account No. xxx0988                                                           Utility bill

WSSC
14501 Sweitzer Lane                                                       J
Laurel, MD 20707

                                                                                                                                                                   114.00
Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                 1,246.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)            1,398,750.31


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                                         Case 13-12415                   Doc 1   Filed 02/12/13          Page 28 of 48
B6G (Official Form 6G) (12/07)


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 In re             Milton E. Nebblett, Jr.,                                                                    Case No.
                   Shaunielle A. Nebblett
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                         Case 13-12415                   Doc 1   Filed 02/12/13   Page 29 of 48
B6H (Official Form 6H) (12/07)


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 In re          Milton E. Nebblett, Jr.,                                                                Case No.
                Shaunielle A. Nebblett
                                                                                              ,
                                                                                  Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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                                 Case 13-12415             Doc 1       Filed 02/12/13           Page 30 of 48


B6I (Official Form 6I) (12/07)
          Milton E. Nebblett, Jr.
 In re    Shaunielle A. Nebblett                                                                        Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         13
                                             Son                                                         18
                                             Son                                                         22
Employment:                                           DEBTOR                                                    SPOUSE
Occupation                          General Manager                                          HR Manager
Name of Employer                    Samen Enterprises, LLC                                   7DELTA
How long employed                   12 years                                                 6 months
Address of Employer                 301 Apple Grove Road                                     10490 Little Patuxant Parkway
                                    Silver Spring, MD 20904                                  Greenbelt, MD 20771
INCOME: (Estimate of average or projected monthly income at time case filed)                                 DEBTOR                       SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                           $      1,073.25    $               11,206.56
2. Estimate monthly overtime                                                                            $          0.00    $                    0.00

3. SUBTOTAL                                                                                              $         1,073.25       $        11,206.56


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             191.95     $         2,771.40
     b. Insurance                                                                                        $               0.00     $           238.48
     c. Union dues                                                                                       $               0.00     $             0.00
     d. Other (Specify):       401k contribution                                                         $               0.00     $           216.67
                               GTL (term life insurance)                                                 $               0.00     $            48.30

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             191.95     $         3,274.85

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             881.30     $         7,931.71

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         1,073.25       $            0.00
8. Income from real property                                                                             $           950.00       $          950.00
9. Interest and dividends                                                                                $             0.00       $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,023.25       $          950.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,904.55       $         8,881.71

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            11,786.26
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                 Case 13-12415     Doc 1       Filed 02/12/13        Page 31 of 48


B6J (Official Form 6J) (12/07)
          Milton E. Nebblett, Jr.
 In re    Shaunielle A. Nebblett                                                              Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 3,500.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   678.76
                   b. Water and sewer                                                                       $                    50.00
                   c. Telephone                                                                             $                    30.00
                   d. Other See Detailed Expense Attachment                                                 $                   476.00
3. Home maintenance (repairs and upkeep)                                                                    $                   150.00
4. Food                                                                                                     $                   650.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    35.00
7. Medical and dental expenses                                                                              $                   300.00
8. Transportation (not including car payments)                                                              $                   431.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   350.00
10. Charitable contributions                                                                                $                    84.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                   100.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   465.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) See Detailed Expense Attachment                                                   $                  250.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   632.00
                   b. Other 6800 96th Ave Lanham, MD 20706                                                  $                 2,370.07
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 1,000.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                11,651.83
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                11,786.26
b. Average monthly expenses from Line 18 above                                                              $                11,651.83
c. Monthly net income (a. minus b.)                                                                         $                   134.43
                                 Case 13-12415    Doc 1    Filed 02/12/13      Page 32 of 48


B6J (Official Form 6J) (12/07)
          Milton E. Nebblett, Jr.
 In re    Shaunielle A. Nebblett                                                      Case No.
                                                              Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                 Detailed Expense Attachment
Other Utility Expenditures:
Cell phone                                                                                       $    350.00
Internet package                                                                                 $    126.00
Total Other Utility Expenditures                                                                 $    476.00


Specific Tax Expenditures:
State of Maryland                                                                                $    100.00
Internal Revenue Service                                                                         $    150.00
Total Tax Expenditures                                                                           $    250.00




Other Expenditures:
Tuition - Leigh                                                                                  $    600.00
Tuition - Evan                                                                                   $    200.00
Tuition - Ryan                                                                                   $    200.00
Total Other Expenditures                                                                         $   1,000.00
                                        Case 13-12415                  Doc 1       Filed 02/12/13       Page 33 of 48
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
            Milton E. Nebblett, Jr.
 In re      Shaunielle A. Nebblett                                                                                Case No.
                                                                                    Debtor(s)                     Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         25
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 12, 2013                                                Signature    /s/ Milton E. Nebblett, Jr.
                                                                                    Milton E. Nebblett, Jr.
                                                                                    Debtor


 Date February 12, 2013                                                Signature    /s/ Shaunielle A. Nebblett
                                                                                    Shaunielle A. Nebblett
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                      Case 13-12415                    Doc 1   Filed 02/12/13          Page 34 of 48

B7 (Official Form 7) (12/12)



                                                          United States Bankruptcy Court
                                                                        District of Maryland
             Milton E. Nebblett, Jr.
 In re       Shaunielle A. Nebblett                                                                            Case No.
                                                                                Debtor(s)                      Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                               DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $54,395.00                        2012: Wife 7Delta
                          $108,929.00                       2011: Wife Raytheon
                          $28,800.00                        2012: Husband SAMEN Enterprises
                          $28,800.00                        2011: Husband SAMEN Enterprises
                          $22,800.00                        2012: Both Rent
                          $21,600.00                        2011: Both Rent
                          $2,400.00                         2013 YTD: Husband SAMEN Enterprises
                          $10,881.64                        2013 YTD: Wife 7Delta




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                                     Case 13-12415                     Doc 1   Filed 02/12/13        Page 35 of 48


B 7 (12/12)                                                                                                                                                 2

              2. Income other than from employment or operation of business

     None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
   OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF       COURT OR AGENCY                                   STATUS OR
AND CASE NUMBER                                                        PROCEEDING      AND LOCATION                                      DISPOSITION
Christopher Seymor v. Milton Nebblett et al                            Contract        Circuit Court for Montgomery County               Judgment
Case No. 350938-V                                                                      50 Maryland Avenue
                                                                                       Rockville, MD 20850
Samuel I. White et al. v. Milton Nebblett et al.                       Foreclosure     Circuit Court for Montgomery County               Foreclosure
Case No. 345142-V                                                                      50 Maryland Avenue                                sale ratified
                                                                                       Rockville, MD 20850
State of Maryland v. Milton Nebblett et al.                            Collection      Circuit Court for Montgomery County               Lien for
Case No. 342707-V                                                                      50 Maryland Avenue                                $1,052
                                                                                       Rockville, MD 20850                               satisfied

*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                     Case 13-12415                     Doc 1   Filed 02/12/13       Page 36 of 48


B 7 (12/12)                                                                                                                                                 3

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
Randa S. Azzam, et al. vs. Milton E. Nebblett, Jr.                     Eviction          Circuit Court for Montgomery County             Eviction
and Shaunielle A. Nebblett                                                               50 Maryland Avenue                              Pending/Sche
Case No: 345142V                                                                         Rockville, MD 20850                             duled for
                                                                                                                                         February 14,
                                                                                                                                         2013

   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
     BENEFIT PROPERTY WAS SEIZED                                       DATE OF SEIZURE              PROPERTY
Christopher Seymour                                                    3/15/2012            $2,431 garnished from paycheck
6321 Golden Harvest Court
Clarksville, MD 21029

              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                    PROPERTY
Fulton Financial Mortgage Servicing                            3/15/2012                      Foreclosure of loan secured by:
1 Penn Square                                                                                 301 Apple Grove
Lancaster, PA 17602                                                                           Silver Spring, MD 20904
                                                                                              Value: $975,000

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY




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                                     Case 13-12415                     Doc 1   Filed 02/12/13        Page 37 of 48


B 7 (12/12)                                                                                                                                                 4

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                             DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                      DATE OF GIFT            VALUE OF GIFT
Brinklow SDA Church                                       Member                               Donations made         $1,000
18800 New Hampshire Avenue                                                                     throughout year
Ashton, MD 20861
Salvation Army                                            Donation                             Donations made         Miscellaneous clothing and
3402 Hamilton Street                                                                           throughout year        personal property valued at
Hyattsville, MD 20782                                                                                                 $2,000

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                        NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
    OF PAYEE                                                                  THAN DEBTOR                                      OF PROPERTY
Morris Palerm, LLC                                                      1/28/2013                                    $2,000 for bankruptcy
416 Hungerford Drive                                                                                                 representation and pertinent
Rockville, MD 20850                                                                                                  filing fees

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY




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                                     Case 13-12415                     Doc 1   Filed 02/12/13         Page 38 of 48


B 7 (12/12)                                                                                                                                                   5

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY

              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                 AMOUNT OF SETOFF

              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                   LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                 NAME USED                                      DATES OF OCCUPANCY

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
              Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME




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                                     Case 13-12415                     Doc 1   Filed 02/12/13       Page 39 of 48


B 7 (12/12)                                                                                                                                                6

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
              or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION

              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                               BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS              ENDING DATES
SAMEN Enterprises,              XX-XXXXXXX                       301 Apple Grove Road           Food Catering Services          Business
LLC                                                              Silver Spring, MD 20904        Debtor - 49%                    commenced
                                                                                                Co-Debtor - 51%                 operations in 2000




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                                     Case 13-12415                     Doc 1   Filed 02/12/13         Page 40 of 48


B 7 (12/12)                                                                                                                                                   7
   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements

   None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
              of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                   DATES SERVICES RENDERED

   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                   ADDRESS

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                                DATE ISSUED

              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders

   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST




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                                     Case 13-12415                     Doc 1       Filed 02/12/13        Page 41 of 48


B 7 (12/12)                                                                                                                                                       8
   None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                              NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                                  OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders

   None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

NAME                                                      ADDRESS                                                       DATE OF WITHDRAWAL

   None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                                  DATE OF TERMINATION

              23 . Withdrawals from a partnership or distributions by a corporation

   None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
              commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

              24. Tax Consolidation Group.

   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

              25. Pension Funds.

   None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
              employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date February 12, 2013                                                 Signature    /s/ Milton E. Nebblett, Jr.
                                                                                    Milton E. Nebblett, Jr.
                                                                                    Debtor


Date February 12, 2013                                                 Signature    /s/ Shaunielle A. Nebblett
                                                                                    Shaunielle A. Nebblett
                                                                                    Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571


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                                     Case 13-12415                     Doc 1   Filed 02/12/13   Page 42 of 48
B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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                                     Case 13-12415                     Doc 1   Filed 02/12/13   Page 43 of 48
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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                                     Case 13-12415                     Doc 1   Filed 02/12/13        Page 44 of 48



B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Milton E. Nebblett, Jr.
 In re     Shaunielle A. Nebblett                                                                          Case No.
                                                                                 Debtor(s)                 Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Milton E. Nebblett, Jr.
Shaunielle A. Nebblett                                                             X /s/ Milton E. Nebblett, Jr.              February 12, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                      Date

Case No. (if known)                                                                X /s/ Shaunielle A. Nebblett               February 12, 2013
                                                                                     Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                     Case 13-12415                     Doc 1    Filed 02/12/13       Page 45 of 48




                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Milton E. Nebblett, Jr.
 In re     Shaunielle A. Nebblett                                                                        Case No.
                                                                                  Debtor(s)              Chapter     7




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: February 12, 2013                                                /s/ Milton E. Nebblett, Jr.
                                                                       Milton E. Nebblett, Jr.
                                                                       Signature of Debtor

Date: February 12, 2013                                                /s/ Shaunielle A. Nebblett
                                                                       Shaunielle A. Nebblett
                                                                       Signature of Debtor




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               Case 13-12415   Doc 1   Filed 02/12/13   Page 46 of 48


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    Bank of America
    P.O. Box 15025
    Wilmington, DE 19886



    Capitol One Auto Finance
    3905 N. Dallas Pkwy
    Plano, TX 75093



    Christopher Seymour
    6321 Golden Harvest Court
    Clarksville, MD 21029



    Comptroller of Maryland
    11510 Georgia Avenue, Suite 190
    Silver Spring, MD 20902



    Fidelity Investments
    900 Salem Street
    Smithfield, RI 02917



    Fulton Bank
    Mortgage Servicing Center
    1 Penn Square
    Lancaster, PA 17602



    Fulton Financial Mortgage Servicing
    1 Penn Square
    Lancaster, PA 17602



    Internal Revenue Service
    8401 Corporate Drive
    Hyattsville, MD 20785



    Irving Westney
    14025 Clarksville Pike
    Highland, MD 20777
          Case 13-12415   Doc 1   Filed 02/12/13   Page 47 of 48



Ivy Nebblett
12118 Mt. Albert Road
Ellicott City, MD 21042



Montgomery County Sheriff's Office
50 Maryland Avenue, Room T-8
Rockville, MD 20850



NASA Federal Credit Union
500 Prince Georges Ctr
Upper Marlboro, MD 20772



Paul Rivera
PO Box 349
Rockville, MD 20848



Pepco
701 Ninth Street, NW
Washington, DC 20068



Samuel I. White, PC
611 Rockville Pike
Suite 100
Rockville, MD 20852



Valerie Morrison
47 Labrador Street
Oshawa, Ontario, Canada L1H-7E2



Verizon
PO Box 4003
Acworth, GA 30101



Verizon Wireless
P.O. Box 4003
Acworth, GA 30101
          Case 13-12415   Doc 1   Filed 02/12/13   Page 48 of 48



Washington Gas
101 Constitution Avenue, NW
Washington, DC 20080



WSSC
14501 Sweitzer Lane
Laurel, MD 20707
